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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                                    )
JEROME CORSI,                                       )
                                                    )
       Plaintiff,                                   )
                                                    )
v.                                                  )      CASE NO.: 1:18cv2885
                                                    )
ROBERT MUELLER, individually and in his             )
official capacity as Special Counsel, FEDERAL       )
BUREAU OF INVESTIGATION, NATIONAL                   )
SECURITY AGENCY, CENTRAL                            )
INTELLIGENCE AGENCY, and UNITED                     )
STATES DEPARTMENT OF JUSTICE,                       )
                                                    )
       Defendants.                                  )
                                                    )

                       MOTION FOR A STAY OF HEARING DATE
                      IN LIGHT OF LAPSE OF APPROPRIATIONS

       Defendants Federal Bureau of Investigation, National Security Agency, Central

Intelligence Agency, United States Department of Justice, and Robert Mueller in his official

capacity as Special Counsel (together, “the Government”) hereby move for a stay of the order-to-

show-cause hearing scheduled to be held on January 3, 2019, in the above-captioned case.

       1.      At the end of the day on December 21, 2018, the appropriations act that had been

funding the Department of Justice expired and appropriations to the Department lapsed. The

Department does not know when funding will be restored by Congress.

       2.      Absent an appropriation, Department of Justice attorneys are generally prohibited

from working, even on a voluntary basis, except in very limited circumstances, including

“emergencies involving the safety of human life or the protection of property.” 31 U.S.C. § 1342.
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       3.      On December 12, 2018, the Court issued an order directing the Plaintiff to show

cause in writing within 14 days why this case is related to Klayman v. Obama, C.A. No. 13-cv-

851 for the purpose of the Rule 40.5 procedure, and scheduled a hearing on the Plaintiff’s notice

for January 3, 2019, at 3:00 p.m.

       4.      Undersigned counsel has been assigned to represent the Government’s interests at

such hearing on the Plaintiff’s notice. Undersigned counsel for the Department of Justice

therefore requests a stay of the hearing date until Congress has restored appropriations to the

Department.

       5.      If this motion for a stay is granted, undersigned counsel will notify the Court as

soon as Congress has appropriated funds for the Department. The Government requests that, at

that point, the hearing be rescheduled. The Government further respectfully requests that, once

appropriations have been restored, it be afforded a reasonable amount of time prior to the hearing

to respond in writing, if necessary, to Plaintiff’s submission in response to the Court’s order to

show cause.

       Therefore, although we greatly regret any disruption caused to the Court and the other

litigants, the Government hereby moves for a stay of the hearing scheduled to be held on January

3, 2019, in this case until Department of Justice attorneys are permitted to resume their usual

civil litigation functions. Opposing counsel has informed the Government that Plaintiff opposes

this motion.




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Dated: December 26, 2018            Respectfully submitted,

                                    JAMES J. GILLIGAN
                                    Acting Branch Director

                                    /s/ Elizabeth Tulis
                                    ELIZABETH TULIS
                                    Trial Attorney
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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on December 26, 2018, I will electronically file the foregoing

with the Clerk of Court using the CM/ECF system, which will send a notification of electronic

filing to the parties.


                                          /s/ Elizabeth Tulis
                                          ELIZABETH TULIS
